   

Prob 19
(1/82)

U.S.A. v. LACKS, Daniel

 

 

United States District Court

for the

Eastern District of Michigan

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Case eee |S ECF No. 22 filed07/13/06 PagelD.44 Page1lof1

(O30!

Docket No. 01-CR-80812-DT-01

TO: Any United States Marshal or any Other Authorized Officer.

 

WARRANT FOR ARREST OF PROBATIONER/SUPERVISED RELEASEE

You are hereby commanded to arrest the within-named defendant and bring him or her,
forthwith, before the United States District Court to answer charges that he or she violated the
conditions of his or her supervision imposed by the Court.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

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Name of Subject Sex Race Age
LACKS, Daniel Male White 4]
Address (Street, Cily, State)
7518 Marbrett Drive Apt. 303, Richmond, Virginia 23225-5022 s,
Sentence Imposed by (Name of Court} : : . . i
United States District Court, Detroit, Michigan - we pate
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To Be Brought Before ( Name of Court, City, State) M3 i 4
United States District Court, Detroit, Michigan Tre Ga Pit a
Clerk (By? 1 Dat xr onnk of:
David J. Weaver Bch MAR i 2006 |:
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RETURN Ww
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Warrant Received and Executed, Date Rapgived Date Fxecutedy —= sears
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Executing Agency (Name and Addrcss) A? ce rua
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Name (By) Date

 
